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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN



                                             No. 2:20-13256-TGB-CI
 In re Chevrolet Bolt EV Litigation
                                             Judge Terrence G. Berg
                                             Magistrate Judge Curtis Ivy, Jr.




    MOTION TO DISMISS OF DEFENDANT LG ELECTRONICS, INC.

      PLEASE TAKE NOTICE that, by its counsel, Defendant LG Electronics, Inc.

(“LGEKR”) hereby moves to dismiss the Amended Consolidated Class Action

Complaint (“FACC”) of Plaintiffs Robin Altobelli, et al. (collectively, “Plaintiffs”)

in its entirety as against LGEKR and with prejudice pursuant to Fed. R. Civ. P. 9(b)

for failure to plead with particularity and Fed. R. Civ. P. 12(b)(6) for failure to state

a claim upon which relief can be granted. The grounds and legal authority for

dismissing the FACC are set forth in the attached memorandum of law, and as

addressed in that memorandum.

      As required by Local Rule 7.1(a), counsel for LGEKR sought concurrence

from Plaintiffs’ counsel in this motion. Plaintiffs’ counsel did not concur with the

relief sought.
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      WHEREFORE, LGEKR respectfully requests that the Court issue an order

granting LGEKR’s motion to dismiss. LGEKR respectfully requests such further

and other relief as the Court deems appropriate.

Dated: July 8, 2022                       By: _/s/ A. Michael Palizzi
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN



                                       No. 2:20-13256-TGB-CI
In re Chevrolet Bolt EV Litigation
                                       Judge Terrence G. Berg
                                       Magistrate Judge Curtis Ivy, Jr.




             MEMORANDUM OF LAW IN SUPPORT OF
              LG ELECTRONICS, INC.’S MOTION TO
        DISMISS THE AMENDED CLASS ACTION COMPLAINT



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                    STATEMENT OF ISSUES PRESENTED

       Plaintiffs allege a defect in the batteries of model year 2017–2022 Chevrolet
Bolt electric vehicles. Since the issues first arose, there have been investigations
into the issues and a launch of an ongoing recall process aimed at remedying any
battery defects. In the meantime, Plaintiffs filed this consolidated lawsuit, asserting
33 causes of action sounding in fraud against LGEKR – one of the suppliers of
component parts to GM.

      LGEKR’s motion to dismiss the lawsuit presents a number of issues:

   1. Whether Plaintiffs’ fraud claims should be dismissed because Plaintiffs
      engage in improper group pleading. (See Section I.A, infra.)

          Count(s)                 Nature of Claim            Affected Plaintiffs
 6, 11–12, 19, 24–25, 30–          State consumer               All Plaintiffs
 31, 36, 41, 46, 51–52, 57,          protection
       62, 67, 72, 77
  3, 9, 18, 22, 28, 34, 39,     Fraud by concealment             All Plaintiffs
 44, 49, 55, 60, 65, 70, 75,
             80

   2. Whether Plaintiffs’ misrepresentation claims should be dismissed because
      Plaintiffs do not identify any actionable representations by component part
      supplier LGEKR. (See Section I.B, infra.)

          Count(s)                 Nature of Claim            Affected Plaintiffs
 6, 11-12, 19, 24–25, 30–          State consumer               All Plaintiffs
 31, 36, 41, 46, 51–52, 57,          protection
    62, 67, 72, 77, to the
  extent they are based on
    a misrepresentation
           theory.

   3. Whether the consumer protection and common-law fraud claims brought by
      Plaintiffs who purchased or leased a Bolt should be dismissed because
      Plaintiffs do not allege that component part supplier LGEKR knew that the
      alleged battery defect existed before any Plaintiff purchased or leased his or
      her vehicle. (See Section I.C.1, infra.)


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          Count(s)               Nature of Claim            Affected Plaintiffs
 6, 11–12, 19, 24–25, 30–        State consumer               All Plaintiffs
 31, 36, 41, 46, 51–52, 57,        protection
       62, 67, 72, 77
  3, 9, 18, 22, 28, 34, 39,    Fraud by concealment            All Plaintiffs
 44, 49, 55, 60, 65, 70, 75,
             80

   4. Whether Plaintiffs’ common-law fraud claims should be dismissed for failure
      to allege the requisite duty to disclose. (See Section I.C.2, infra.)

          Count(s)                Nature of Claim           Affected Plaintiffs
  3, 9, 18, 22, 28, 34, 39,    Fraud by concealment           All Plaintiffs
 44, 49, 55, 60, 65, 70, 75,
             80

   5. Whether Plaintiffs plead the necessary causation and reliance to support their
      consumer protection and common-law fraud claims against component part
      supplier LGEKR. (See Section II, infra.)

          Count(s)               Nature of Claim            Affected Plaintiffs
 6, 11–12, 19, 24–25, 30,        State consumer               All Plaintiffs
 31, 36, 41, 46, 51–52, 57,        protection
       62, 67, 72, 77
  3, 9, 18, 22, 28, 34, 39,    Fraud by concealment            All Plaintiffs
 44, 49, 55, 60, 65, 70, 75,
             80

   6. Whether Plaintiffs’ claims are subject to dismissal for prudential mootness
      because GM’s recall and replacement of the defective batteries will moot the
      alleged injuries. (See Section IV, infra.)

          Count(s)               Nature of Claim            Affected Plaintiffs
 6, 11–12, 19, 24–25, 30,        State consumer               All Plaintiffs
 31, 36, 41, 46, 51–52, 57,        protection
       62, 67, 72, 77
  3, 9, 18, 22, 28, 34, 39,    Fraud by concealment            All Plaintiffs
 44, 49, 55, 60, 65, 70, 75,
             80

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                    STATEMENT OF CONTROLLING
                  OR MOST APPROPRIATE AUTHORITY

The controlling or most appropriate authority for the relief that LGEKR seeks
includes:

Cases

   1. Chapman v. Gen. Motors LLC, 531 F. Supp. 3d 1257 (E.D. Mich. 2021)

   2. Flores v. FCA US LLC, No. 19-10417, 2020 WL 7024850 (E.D. Mich. Nov.
      30, 2020)

   3. Matanky v. Gen. Motors LLC, 370 F. Supp. 3d 772 (E.D. Mich. 2019)

   4. Smith v. Gen. Motors LLC, 988 F.3d 873 (6th Cir. 2021)

   5. Wozniak v. Ford Motor Co., No. 17-12794, 2019 WL 108845 (E.D. Mich.
      Jan. 4, 2019)




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                                INTRODUCTION

      Defendant LG Electronics, Inc.’s (“LGEKR”) motion to dismiss follows the

same pending motion filed by Defendant LG Electronics U.S.A., Inc.’s (“LGEUS”).

ECF No. 49. Plaintiffs make no effort to distinguish LGEUS from LGEKR in their

Amended Consolidated Complaint (“FACC”). ECF No. 27. Indeed, they allege the

same facts and the same legal claims against both defendants, never distinguishing

one from the other. They are, however, separate corporate entities, with distinct and

different business roles as they relate to the matters alleged by Plaintiffs in the

FACC.

      Plaintiffs make 33 claims against LGEKR, all of which involve allegedly

fraudulent conduct regarding a purported defect in the battery that powers Defendant

General Motors LLC’s (“GM”) Chevy Bolts. However, Plaintiffs do not cite to a

single actionable misrepresentation or omission made by LGEKR in their FACC.

Instead, Plaintiffs impermissibly group LGEKR together with the other Defendants

to conjure the perception that LGEKR has said anything that could be considered

fraudulent.

      Plaintiffs cannot cite a fraudulent LGEKR statement because none exist.

LGEKR could not misrepresent or conceal information regarding the Bolt’s battery

because it did not know about the alleged defects when Plaintiffs purchased their
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vehicles. Furthermore, even if LGEKR had known about the alleged defect at the

time, it did not have a duty to disclose that information.

        Plaintiffs’ claims also fail because they have not suffered any unaddressed

injuries stemming from the purported battery defect.         GM is implementing a

comprehensive recall that will return the batteries and vehicles to normal

performance and render Plaintiffs’ claims prudentially moot.

      These points are addressed below. For purposes of efficiency, LGEKR joins

in and incorporates by reference the arguments made in LGEUS’s memoranda of

law submitted in support of its motion to dismiss. See generally ECF. No. 49.

                            STATEMENT OF FACTS1

      A.     The Defendants

      GM is an automotive manufacturer that produces, sells, and markets the

Chevy Bolt. See FACC ¶¶ 281, 282, 303. LGEKR is a publicly traded Korean

corporation and wholly owns LGEUS, its U.S. subsidiary. Id. ¶¶ 296–302. LG

Chem Ltd. (“LG Chem”) is the parent of a different group of companies and is

separately traded on the Korea Exchange. Id. ¶ 285. LG Chem owns 100% of LG

Energy Solution, Ltd. (“LGES”), which owns 100% of LG Energy Solution




1
 The facts set forth in this section are based on the Amended Consolidated
Complaint and accepted only for purposes of this Motion.
                                          2
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Michigan, Inc. (“LGES MI”). Id. ¶¶ 284–91. LGEKR and LGEUS manufacture

and supply component parts of the batteries at issue.2

      B.     Plaintiffs Treat LGEKR and LGEUS (and all LG Entities) the
             Same Throughout the FACC

      The factual circumstances surrounding LGEUS’s motion to dismiss apply to

this motion, as well. Plaintiffs treat both defendants identically throughout the

FACC, only distinguishing LGEKR from LGEUS when listing all the defendants

(id. ¶¶ 1, 296–302) and alleging that the Eastern District of Michigan has personal

jurisdiction over both (id. ¶ 24). Every other time Plaintiffs mention LGEKR or

LGEUS in the FACC, they either cite to “LG Electronics” generally, rather than

distinguish between the Korean parent and U.S. subsidiary, see id. ¶¶ 25, 362, 364,

390, or they refer to a different LG entity, see id. ¶¶ 311, 363. There is nothing else

in the FACC that distinguishes LGEKR from LGEUS.

      C.     GM Voluntarily Recalls the Chevy Bolt

      Model Year 2017–2019 Chevy Bolts are powered by a design level N2.1

lithium-ion battery, while 2020–2022 Bolts operate with a design level N2.2 battery.

FACC ¶¶ 7; Ex. BF (ECF No. 27-59, PageID.2091). Both battery types were

manufactured by LG Chem. FACC ¶ 332.




2
  Plaintiffs’ description of the role of LGEKR in the manufacturing and supply of
the batteries is addressed as pled for purposes of this motion.
                                          3
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      After GM received complaints alleging that the Bolt’s battery caught fire, it

opened an investigation, voluntarily recalled the applicable vehicles (FACC ¶¶ 7,

366; Ex. BF (Ex. No 27-59, PageID.2089)), temporarily modified the battery’s

charging capacity and how drivers used their vehicles (FACC ¶¶ 368–69; Ex. BF

(Ex. No 27-59, PageID.2089–91); FACC ¶ 382; Ex. C (ECF No. 27-4,

PageID.1513–14); Ex. D (ECF No. 27-5, PageID.1517)), and agreed to provide

replacement battery modules for all vehicles (FACC ¶ 388). There is no allegation

that LGEKR ever received any complaints from Bolt drivers.

      D.       Plaintiffs Failed to Make Any Distinctions Between Defendants

      Plaintiffs are 34 individuals that purchased or leased 2017–2022 model year

Chevy Bolts in one of fourteen states between March 17, 2017, and July 26, 2021.

FACC ¶¶ 27–279. The FACC does not make any specific allegations against

LGEKR. In fact, just as Plaintiffs group LGEKR and LGEUS together, see supra

Section B, they also lump LGEKR with the other Defendants, including GM.

Plaintiffs only cite to two statements made by any LG entity. The first is a statement

from the CEO of LG Electronics Vehicle Components Co. discussing the company’s

status as “GM’s EV technology partner,” FACC ¶¶ 311, 363, and the second is a

confirmation from “LG” that it was working with GM on the Bolt battery recall. Id.

¶¶ 364, 390.



                                          4
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                                LEGAL STANDARDS

      To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain

“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). For fraudulent misrepresentation claims, Rule

9(b) requires plaintiffs to “(1) specify the statements that the plaintiff contends were

fraudulent, (2) identify the speaker, (3) state where and when the statements were

made, and (4) explain why the statements were fraudulent.” Chapman v. Gen.

Motors LLC, 531 F. Supp. 3d 1257, 1287 (E.D. Mich. 2021) (Berg, J.) (quoting

Raymo v. FCA US LLC, 475 F. Supp. 3d 680, 705 (E.D. Mich. 2020) (Berg, J.)). As

to fraud by concealment, Rule 9(b) requires plaintiffs to plead: “(1) precisely what

was omitted; (2) who should have made a representation; (3) the content of the

alleged omission and the manner in which the omission was misleading; and (4)

what [defendant] obtained as a consequence of the alleged fraud.” Republic Bank &

Tr. Co. v. Bear Stearns Co., 683 F.3d 239, 256 (6th Cir. 2012). Plaintiffs have failed

to meet these standards.




                                            5
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                                   ARGUMENT

I.     PLAINTIFFS DO NOT PLEAD THEIR CLAIMS AGAINST LGEKR
       WITH THE PARTICULARITY REQUIRED BY RULE 9(B)

       Every claim against LGEKR sounds in fraud, and so must satisfy Rule 9(b).3

In order to state a claim for fraud, the complaint must include enough details to

provide defendants with “sufficient notice” of the relevant claims against them.

Coffey v. Foamex L.P., 2 F.3d 157, 162 (6th Cir. 1993).

       Plaintiffs’ claims against LGEKR suffer from the same defects as those pled

against LGEUS, not to mention the other defendants. Plaintiffs again improperly

rely on group pleading, failing to provide any examples of a misrepresentation

attributable to LGEKR. Plaintiffs also do not allege that LGEKR knew about the

defect or had a duty to make a disclosure. Therefore, all of Plaintiffs’ claims against

LGEKR4 fail.

       A.     Plaintiffs Engage in Improper Group Pleading

       As discussed above, Plaintiffs group LGEKR together with LGEUS and the

other defendants throughout the FACC. See supra Section B. This pleading tactic

is fatal to their claims.5


3
  LGEKR incorporates by reference LGEUS’s arguments regarding Plaintiffs’
inability to satisfy Rule 9(b). ECF No. 49, PageID.3130–31.
4
  Counts 3, 6, 9, 11–12, 18, 19, 22, 24–25, 28, 30–31, 34, 36, 39, 41, 44, 46, 49, 51–
52, 55, 57, 60, 62, 65, 67, 70, 72, 75, 77, 80.
5
  LGEKR incorporates by reference the group pleading arguments in LGEUS’s
motion to dismiss. See ECF No. 49, PageID.3132–34.
                                            6
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      Plaintiffs combine LGEKR with the other four LG defendants as a collective

“LG,” and lump the LG entities together with GM and refer to the group as

“Defendants.” However, Plaintiffs acknowledge – as they must – that the LG

companies are not intertwined: LGEKR and LG Chem are independently listed on

the Korean stock exchange. See FACC ¶¶ 285, 297. Plaintiffs also do not identify

which Defendant made the statements that allegedly misrepresented the Bolt

batteries, nor which Defendant allegedly omitted relevant information.

      This is improper group pleading and violates Rule 9(b).              Fraud-based

allegations are “deficient” when “the claims are directed at the defendants en masse,”

instead of at specific defendants. Live Cryo, LLC v. CryoUSA Imp. & Sales, LLC,

No. 17-11888, 2017 WL 4098853, at *8 (E.D. Mich. Sept. 15, 2017). Plaintiffs have

done just that, as they only attribute two statements to “LG” throughout the FACC.

First, the CEO of LG Electronics Vehicle Components Co. allegedly characterized

that company’s status as “GM’s EV technology partner” as being “indicative of

exactly the type of contributions that traditional tech companies can make in the

automotive space.” FACC ¶¶ 311, 363. Second, LG allegedly confirmed that it was

working with its “client and partner . . . to ensure that the recall measures are carried

out smoothly . . . . The reserves and ratio of cost to the recall will be decided

depending on the result of the joint investigation looking into the root cause,

currently being held by GM, LG Electronics and LG Energy Solution.” Id. ¶¶ 364,

                                           7
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390.   Neither statement plausibly contains a fraudulent misrepresentation or

omission about the performance of the Chevy Bolt batteries. Therefore, all 33 fraud-

based claims against LGEKR fail.

       B.    Plaintiffs’ Affirmative Misrepresentation Assertions Are
             Meritless

       Plaintiffs fail to allege LGEKR made any affirmative misrepresentations, just

as they did as to LGEUS.6 They claim that “Defendants” – including GM and the

other LG entities – are collectively liable for violating consumer protection statutes

because of their public statements about the Bolt batteries. See, e.g., FACC ¶¶ 464–

67. However, Plaintiffs fail to identify what the statements that they attribute to

“LG” or “Defendants” misrepresented. See Wozniak v. Ford Motor Co., No. 2:17-

CV-12794, 2019 WL 108845, at *3 (E.D. Mich. Jan. 4, 2019).

       C.    Plaintiffs’ Concealment Claims Fail

       Likewise, Plaintiffs’ claims that LGEKR fraudulently concealed material

facts about the Chevy Bolt battery also fail. Though courts impose a “slightly more

relaxed pleading burden” for fraudulent concealment claims than fraudulent

misrepresentation, Rule 9(b) still requires Plaintiffs to specify the “who, what, when,

where, and how” of the alleged concealment. Miller v. Gen. Motors, LLC, No. 17-



6
  LGEKR incorporates by reference LGEUS’s arguments regarding Plaintiffs’
inability to plead affirmative misrepresentation claims. See ECF No. 49,
PageID.3135–36.
                                      8
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14032, 2018 WL 2740240, at *11 (E.D. Mich. June 7, 2018) (emphasis in original).

Here, Plaintiffs do not allege that LGEKR knew about the alleged battery defect

when Plaintiffs purchased their vehicles, or had a duty to disclose information. That

is insufficient.

              1.   LGEKR Did Not Know About the Alleged Defects When
                   Plaintiffs Purchased Their Vehicles

       Plaintiffs do not plausibly allege that LGEKR knew of the alleged defect when

Plaintiffs purchased their vehicles.    LGEKR “cannot be required to disclose

something [it] did not know.” Walton v. Grammer Indus. Inc., No. 20-12298, 2021

WL 4458761, at *6 (E.D. Mich. Sept. 29, 2021) (Berg, J.); see ECF No. 49,

PageID.3137–38.

                   i.     LGEKR Did Not Know of the Alleged Battery Defects in
                          the 2017–2019 Chevy Bolts Until November 2020

       Based on Plaintiffs’ FACC, LGEKR did not know about the alleged defect in

the batteries until GM finished its investigation and initiated the first recall in

November 2020, well after any Plaintiff claims to have purchased his or her vehicle.

See FACC ¶¶ 7, 27–279. Therefore, it was impossible for LGEKR to fraudulently

omit information it did not have at the time of purchase.

       Plaintiffs do not allege that LGEKR had access to any sources of information,

only claiming that the purported monolithic “LG” knew about the battery’s problems

before Plaintiffs purchased their vehicles. See, e.g., id. ¶ 361. As explained in

                                         9
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LGEUS’s motion to dismiss, Plaintiffs’ supposed sources of information are

irrelevant. ECF No. 49, PageID.3139–42.7 Those same arguments are applicable to

LGEKR, as well.

      For example, Plaintiffs claim that “LG” knew about the battery’s alleged

propensity to catch fire because of customer reports and GM communications

regarding the Bolt’s loss of propulsion. See, e.g., FACC ¶¶ 336–47. But these

communications about an unrelated problem do not confer knowledge to LGEKR

about the defect at issue. See, e.g., Elliott v. Gen. Motors LLC, No. 21-12561, 2022

WL 1815494, at *5–6 (E.D. Mich. June 2, 2022) (defendant’s bulletins did not

demonstrate defendant’s knowledge of defect because the bulletins did not reference

the defect at issue). Plaintiffs attempt to paper over the disconnect by alleging “[o]n

information and belief” that the same issue that led to the loss of propulsion could

also lead to the fires. FACC ¶ 349. This is inadequate: Plaintiffs cannot survive a

motion to dismiss by relying solely on information and belief without plausibly

alleging any supporting facts. See Smith v. Gen. Motors LLC, 988 F.3d 873, 885

(6th Cir. 2021).

      The same conclusion applies to the other sources Plaintiffs cite in their attempt

to confer knowledge onto LGEKR. Plaintiffs allege that “LG Defendants” were



7
  LGEKR incorporates these arguments by reference.               See ECF No. 49,
PageID.3139–3142
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involved in the design, manufacture, and testing of the batteries. FACC ¶ 435.

However, “theoretical results from preproduction tests without accompanying

verification that the tests occurred and revealed a safety defect [cannot] survive a

motion to dismiss.” Smith, 988 F.3d at 885. Therefore, those sources are irrelevant.

For example, the plaintiffs in Elliott alleged that GM knowingly sold vehicles with

defective headlights, and cited to, among other things, GM’s pre-production testing

data to support their claim. Elliott, 2022 WL 1815494, at *1, *4. The court held

that plaintiffs’ reliance on GM’s testing was “conclusory” because Plaintiffs did not

allege any facts about the outcome of testing sufficient to “raise an inference that

GM knew of the defect.” Id. at *4–5. So too here, Plaintiffs have not alleged that

LGEKR participated in any testing that revealed the defect at issue.

      Plaintiffs’ reliance on NHTSA complaints fares no better. FACC ¶¶ 353–56.

Plaintiffs admit that the first complaint of a battery fire was made on July 8, 2019,

id. ¶ 356, which eliminates the claims of the 23 Plaintiffs who purchased vehicles

before then. 8 As for the remaining Plaintiffs, the rare and infrequent NHTSA




8
 The plaintiffs who allegedly purchased or leased a 2017–2019 Bolt are: Altobelli,
Andersen, Cannon, Mary Carr and Jan Wyers, Chitra, Chung, V. Corry, DeRosa,
William Dornetto and Russel Ives, Kevin Harris and Pamela Duprez, Hickey, Kass,
Kotchmar, Kuchar, Poletti, Schulz, Smith, Sterba, Strong, Vaaler, Taylor, Walker,
and Thomas and Carol Whittaker.
                                         11
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complaints are not enough to impart knowledge of the alleged battery fires onto

LGEKR. See Wozniak, 2019 WL 108845, at *3.

                   ii.    Plaintiffs Cannot Establish LGEKR Knew of a Battery
                          Defect in the 2020–2022 Chevy Bolts

      Similarly, the Plaintiffs who purchased or leased 2020–2022 Chevy Bolts

have not pled that LGEKR purportedly knew about the risk of fire in their vehicles

before GM’s expanded recall in August 2021.9

      The 2019 Bolts included in the expanded recall were manufactured at a

different plant than the 2019 vehicles in the original recall, and the 2020–2022 Bolts

used a different battery model. See Ex. BF (ECF No. 27-59, PageID.2089, 2091).

Therefore, whatever information LGEKR may have gained about the batteries in the

2017–2019 Bolts covered by the original recall cannot be imputed to the newer

batteries in the expanded recall. This is significant, as Plaintiffs fail to make any

other plausible allegations that LGEKR knew about a defect in the batteries covered

by the expanded recall. See Matanky v. Gen. Motors LLC, 370 F. Supp. 3d 772,

792–93 (E.D. Mich. 2019) (Plaintiffs “[could not] plausibly allege [GM] had




9
  LGEKR incorporates by reference LGEUS’s arguments that Plaintiffs’
concealment claims fail due to a lack of knowledge of the defect in 2020–2022
vehicles. See ECF No. 49, PageID.3143–44.
                                      12
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knowledge about defects in the 2017 [model year cars] based on complaints about

the 2015 and 2016 cars, because the 2017 model had design changes”).10

            2.     Certain Plaintiffs’ Claims Fail For the Additional Reason
                   That LGEKR Had No Duty to Make Any Disclosure to
                   Them

      Not only are Plaintiffs required to adequately allege that LGEKR knew about

the alleged defect – which they do not allege – but they must also demonstrate that

LGEKR had a duty to disclose information about the defect. Here, too, Plaintiffs

fall short. LGEUS explained in its motion to dismiss that a component part

manufacturer and supplier – which is what Plaintiffs’ FACC alleges LGEKR and

LGEUS to be – does not have a duty to disclose in the jurisdictions where Plaintiffs

reside. ECF No. 49, PageID.3145–48; see FACC ¶¶ 298, 301. This is equally

applicable to LGEKR, as well.11

      Plaintiffs allege that LGEKR had a duty to disclose because LGEKR

purportedly “possessed exclusive knowledge” of the risk of fire in the batteries

through the design, manufacturing, and testing process. See, e.g., FACC ¶ 439.



10
  The plaintiffs who allegedly purchased or leased a 2020–2022 Bolt are: Connelly,
D. Corry, V. Corry, William Dornetto and Russell Ives, the Holbrooks, Kass, the
Rocks, Vaaler, and Verzura.
11
   LGEKR incorporates by reference the arguments presented by LGES MI in
Section III.C of its memorandum of law in support of its previously filed motion to
dismiss, ECF No. 44, and the arguments regarding the absence of a duty to disclose
in LGEUS’s motion to dismiss. ECF No. 49, PageID.3144–48.
                                        13
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However, as explained above, Plaintiffs fail to allege that LGEKR knew about the

defect when Plaintiffs purchased their vehicles. See supra Section I.C.1. Plaintiffs’

claims should be dismissed for this reason alone.

      Plaintiffs’ claims regarding LGEKR’s alleged duty to disclose fail for

additional reasons, as well. For example, defendants in Michigan have a duty to

disclose only if they are in a fiduciary or confidential relationship with the plaintiffs

– which LGEKR is not, see, e.g., Niedoliwka v. Inglin, No. 327576, 2016 WL

6127696, at *8 (Mich. Ct. App. Oct. 18, 2016). Additionally, Texas does not

recognize fraudulent concealment as an independent cause of action (Sweezey v. C.R.

Bard Inc., No. 19-CV-2172, 2020 WL 1237394, at *1 (N.D. Tex. Mar. 12, 2020)),

Wisconsin courts have declined to extend the duty to disclose to sales of consumer

goods (Tietsworth v. Harley- Davidson, Inc., 270 Wis. 2d 146, 157 (2004)), and

under Oregon law, Plaintiffs’ common law fraudulent concealment claim are

preempted. Chapman, 531 F. Supp. 3d at 1299. For the remaining states in which

Plaintiffs reside, Plaintiffs must still allege some kind of relationship for a duty to

disclose to arise. See, e.g., LiMandri v. Judkins, 52 Cal.App. 4th 326, 336–37

(1997). Here, LGEKR – as a component parts supplier – did not have, and is not

alleged to have had, any relationship with the Plaintiffs.




                                           14
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II.   PLAINTIFFS DO NOT PLEAD NECESSARY CAUSATION OR
      RELIANCE

      Plaintiffs make the same claims against LGEKR as they do LGEUS.

Therefore, their inability to allege causation or reliance, ECF No. 49, PageID.3148–

53, is equally applicable here.12 All Plaintiffs’ claims sound in fraud and so require

a showing of causation or reliance. See, e.g., Chapman, 531 F. Supp. 3d at 1285,

1300 (finding causation or reliance necessary for fraud claims); Morgan Bldgs. &

Spas, Inc. v. Humane Soc’y of Se. Texas, 249 S.W.3d 480, 490 (Tex. App. 2008).

Even though some courts have held that reliance is not a necessary element under

state consumer protection or deceptive trade practices statutes, those courts still

require plaintiffs to allege a causal nexus between the defendant’s alleged conduct

and the plaintiffs’ damages. See, e.g., Pearson v. Philip Morris, Inc., 358 Or. 88,

125–26 (2015). Reliance is one way to show this nexus. See id.

      When the unfair or deceptive trade practice alleged is false advertising and the

alleged loss is overpayment of the purchase price – as Plaintiffs claim here – reliance

becomes a necessary sub-element of causation. See id. Plaintiffs allege that they

did not get the vehicles they paid for because of a combination of alleged affirmative

misrepresentations and omissions. See, e.g., FACC ¶¶ 13–14. Therefore, they must

show that they relied on LGEKR’s alleged misrepresentations and omissions when


12
  LGEKR incorporates these arguments by reference.                See ECF No. 49,
PageID.3148–53
                                15
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purchasing their Bolts by identifying marketing materials, communications, and

product information that contain misrepresentations, or that are misleading because

of alleged omissions. See, e.g., Pearson, 358 Or. at 127. Plaintiffs must also

demonstrate that they relied on these communications. See, e.g., Flores v. FCA US

LLC, No. 20-10972, 2021 WL 1122216, at *18 (E.D. Mich. Mar. 24, 2021); Simon

v. SeaWorld Parks & Ent., Inc., No. 3:21-CV-1488-LL-MSB, 2022 WL 1594338, at

*6 (S.D. Cal. May 19, 2022) (“Plaintiff fails to identify the exact statement he claims

to have relied on”); Counts v. Gen. Motors, LLC, No. 1:16-CV-12541, 2022 WL

2079757, at *16, *18, *24 (E.D. Mich. June 9, 2022) (dismissing fraud claims under

Arizona, Florida, and Texas law against component parts manufacturer after plaintiff

testified he never saw an advertisement from the defendant).

      The only statement attributed to any “LG” entity issued before Plaintiffs

purchased their vehicles came from the CEO of LG Electronics Vehicle Components

Co. while discussing LG’s selection as GM’s technology partner for electric

vehicles. See FACC ¶¶ 311, 363. The statement does not refer to the Bolt or contain

anything that is relevant to Plaintiffs’ claims. Indeed, Plaintiffs do not claim that

they relied on any statement made by LGEKR when deciding to purchase their Bolts,

instead alleging that they made their decision “after considering GM’s

representations about the Vehicle.” See, e.g., FACC ¶¶ 29. Therefore, Plaintiffs

themselves have made clear that all communications about the Bolt that they

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received prior to their purchase were made by GM, not LGEKR, and that Plaintiffs

decided to purchase their vehicles in reliance on those communications. This dooms

their claims for fraudulent concealment and deceptive trade practices under all of the

state consumer protection acts at issue here.       See, e.g., Great N. Ins. Co. v.

Amazon.com, Inc., 524 F. Supp. 3d 852, 860 (N.D. Ill. 2021) (claim against Amazon

under Illinois Consumer Fraud Act failed because “Amazon did not make the

deceptive statement”).

III.    PLAINTIFFS’ CLAIMS AGAINST LGEKR FAIL FOR NUMEROUS
        ADDITIONAL REASONS

        Plaintiffs’ claims suffer from additional deficiencies, and LGEKR joins in and

incorporates by reference the arguments made in the memoranda of law submitted

in support of GM’s, LGES MI’s, and LGUES’s previously filed motion to dismiss:13

         Plaintiffs’ common law fraud claims in Arizona, California, Florida,
          Michigan, Texas, and Wisconsin are barred by the economic loss rule,
          which prohibits recovery in tort for economic damages allegedly caused
          by fraud absent personal injury or property damage other than damage to
          the product at issue. See GM’s Mem. in Supp. of Mot. to Dismiss, ECF
          No. 36, PageID.2440–41; LGES MI’s Mem. in Supp. of Mot. to Dismiss,
          ECF No. 44, PageID.3038–41.

         The Texas DTPA and Virginia CPA do not apply to component part
          suppliers. See ECF No. 44, PageID.3041–42.

         Plaintiffs’ consumer protection claims under the laws of Arizona, Florida,
          Georgia, Illinois, Massachusetts, Michigan and Virginia law fail because
          those statutes exclude acts and practices that are regulated and authorized


13
     See ECF No. 49, PageID.3154–55.
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          by state and/or federal law, including automotive sales. See ECF No. 44,
          PageID. 3043–48.

       Plaintiffs’ claims based on the GFBPA, VCPA, and common law fraud
        under Virginia law cannot proceed as class actions. See ECF No. 44,
        PageID.3048–49.

       Plaintiffs’ fraudulent concealment claims under New York and Texas law
        fail because Plaintiffs have not plead that an alleged defect has actually
        manifested. See ECF No. 36, PageID.2438–39; ECF No. 44, PageID.3040,
        n.32.

       Plaintiffs requests for injunctive relief under the California LRA, Florida
        UDTPA, Georgia FBPA and UDTPA, Illinois UDTPA, Kansas CPA,
        Massachusetts Act, Oregon UTPA, Texas DTPA, and Washington CPA
        are precluded by their failure to allege a likelihood of future harm. See
        ECF No. 44, PageID.3019, n.9.

       Plaintiffs cannot seek damages under the Illinois UDTPA or Georgia
        UDTPA, which provide for only injunctive relief. See ECF No. 44,
        PageID.3019, n.9

IV.   PLAINTIFFS’ ALLEGED INJURIES ARE MOOTED BY GM’S
      RECALL AND REPLACEMENT OF THE DEFECTIVE BATTERIES

      Because GM’s recall is providing Plaintiffs with fully functional batteries – at

no cost – all of Plaintiffs’ alleged injuries are prudentially moot.14 Courts have

discretion to determine a case “prudentially moot” where “events so overtake a

lawsuit that the anticipated benefits of a remedial decree no longer justify the trouble

of deciding the case on the merits.” Winzler v. Toyota Motor Sales U.S.A., Inc., 681


14
   LGEKR incorporates by reference the prudential mootness arguments in
LGEUS’s motion to dismiss, see ECF No. 49, PageID.3155–62, as well as the
arguments in Exhibit A of LGEUS’s motion to file a response to Plaintiffs’ notice
of supplemental authority, see generally ECF No. 78-2.
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F.3d 1208, 1210 (10th Cir. 2012) (Gorsuch, J.). This includes instances in which a

case or controversy may still survive in a diminished form, but “prolonging the

litigation any longer would itself be inequitable.” Id.

      Plaintiffs’ alleged they have been injured by their Bolt’s lower performance,

reduced range, safety hazards, and reduced value, as well as difficulty finding

parking. See, e.g., FACC ¶¶ 10, 19. Each is directly attributable to a rare and

specific defect which appeared only in a very small number of the batteries. See id.

¶ 387; Ex. BF (ECF No. 27-59, PageID.2089–91). In order to address this alleged

defect, GM has announced that it will fully replace all defective batteries, a remedy

that will restore the range of the affected vehicles, remove any risk of fire, and allow

drivers to use their Bolts without constraint. FACC ¶¶ 9, 388; Ex. BF (ECF No. 27-

59, PageID.2091). In short, GM’s recall moots all Plaintiffs’ injuries.

      Plaintiffs unsuccessfully try to skirt the effects of GM’s recall by alleging that

they suffered point-of-purchase injuries, which they claim cannot be remedied by a

recall. FACC ¶ 16. Their alleged injuries match those the plaintiffs claimed in

Flores v. FCA US LLC, where Judge Drain held that plaintiffs’ claims for monetary

damages, arising from an alleged defect in the radiator cooling fan in certain Jeep

vehicles, were mooted by defendant’s proposed recall and replacement of the

defective fans. Flores v. FCA US LLC, No. 19-10417, 2020 WL 7024850 (E.D.

Mich. Nov. 30, 2020). The Flores plaintiffs alleged they were injured at the point-

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of-purchase because they paid more for their vehicles than if they had known of the

alleged defect, just like Plaintiffs here. See id. at *4. However, Judge Drain held

their damages were prudentially moot because the defendant’s recall efforts were

designed to “remove[] the defect upon which the plaintiffs’ diminished-value injury

claim is based.” Id. (citing Hadley v. Chrysler Grp., LLC, 624 Fed. App’x 374, 378

(6th Cir. 2015)). The same conclusion applies here, as GM’s recall will similarly

remove the defect at issue, thereby mooting Plaintiffs’ damages.

      The cases upon which Plaintiffs rely to argue that their injuries are not mooted

are distinguishable and irrelevant. For example, Plaintiffs in Raymo v. FCA US LLC

alleged that a “washcoat defect” – which was purportedly known to defendants

before they sold the vehicles to plaintiffs – caused a point-of-purchase injury because

their vehicles were worth $8,000–$10,000 less than what they paid. Raymo, 475 F.

Supp. 3d at 687–88, 693. Although Plaintiffs here and the Raymo plaintiffs both

allege point-of-purchase injuries, their circumstances are not comparable. The

Raymo plaintiffs alleged a quantifiable diminution in value due to greater emissions

and “lesser fuel economy, torque, and towing ability.” Id. at 693. Here, by contrast,

Plaintiffs have failed to quantify their damages. Furthermore, all the alleged injuries

(e.g. reduced range) are not inherent qualities of the vehicles, but are due to

temporary mitigation measures implemented to address a rare alleged defect. See,

e.g., FACC ¶¶ 387; Ex. BF (ECF No. 27-59, PageID.2089–91). Plaintiffs admit as

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much, alleging that a permanent remedy for the batteries that removes the temporary

charging and range restrictions would “restore the EPA-estimated driving range”

and provide them with the vehicles they bargained for. Compare FACC ¶ 388 with

id. ¶¶ 394–95 (noting that remedy for temporary range limitations would be full

battery replacement).

      Plaintiffs’ reliance on Weidman, et al. v. Ford Motor Company, No. 18-12719,

2022 WL 1071289 (E.D. Mich. Apr. 8, 2022) (Drain, J.), fares no better. Weidman

is inconsistent with Flores, incorrectly describing the Flores plaintiffs’ damages as

stemming from defendant’s “failure to correct the defective product,” not from

overpayment at the point-of-purchase.         Weidman, 2022 WL 1071289, at *5.

However, the Flores decision explicitly held that the plaintiffs sought damages

related to “the defect itself, not the delay in repair” and that the damages included

the “diminished value of their vehicle.” Flores, 2020 WL 7024850, at *4 (emphasis

added). Therefore, there is no basis for the holding in Weidman that a recall does

not render point-of-purchase injuries moot. See Weidman, 2022 WL 1071289, at

*4–5. Flores is still good law and applicable here.

      Weidman is also procedurally and factually distinguishable. The defendant

argued plaintiffs’ claims were moot when it moved for summary judgment and so

had the burden to show “no genuine issue as to any material fact and that [Ford] is

entitled to a judgment as a matter of law.” Weidman, 2022 WL 1071289, at *4

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(quoting Cehrs v. Ne. Ohio Alzheimer’s Research Ctr., 155 F.3d 775, 779 (6th Cir.

1998)). Conversely, LGEKR has moved to dismiss, which requires Plaintiffs to

allege a “cognizable danger” that the recall will fail. See Winzler, 681 F.3d at 1212.

      The Flores plaintiffs failed to meet this standard, see Flores, 2020 WL

7024850, at *4 (“[T]here is no substantial reason for Plaintiffs to fear that Defendant

will fail to continue providing relief.”), as do Plaintiffs here. Plaintiffs argue in

conclusory fashion that Defendants have yet to establish a timeline for the recall and

that the recall will not include cash payments, ECF No. 57, PageID.4654, but neither

is a basis for this Court to find a “cognizable danger” that the recall will not work as

intended. In short, Plaintiffs make no allegation that the recall is ineffective – only

that it possibly could be. This is precisely the kind of allegation rejected in Winzler

and Flores, and is insufficient for Plaintiffs to carry their burden of plausibly

pleading an actual injury.

      Finally, leading prudential mootness jurisprudence throughout the country

further underscores that Plaintiffs’ injuries are moot. See Sugasawara v. Ford Motor

Company, No. 18-06159, 2019 WL 3945105, at *6 (N.D. Cal. Aug. 21, 2019)

(plaintiffs had “not articulated any plausible theory of economic loss” at the point-

of-purchase where an alleged seatbelt defect was remedied through a recall);

Kommer v. Ford Motor Co., 17-00296, 2017 WL 3251598, at *5 (N.D.N.Y. July 28,

2017) (availability of free repair of alleged defect “defeats [plaintiff’s] price-

                                          22
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premium theory of injury”); In re Toyota Motor Corp. Hybrid Brake Mktg., Sales

Pracs. & Prod. Liab., 915 F. Supp.2d 1151, 1157–59 (C.D. Cal. 2013) (claim

mooted where defect was resolved in software update).

                                 CONCLUSION

      For the reasons set forth herein, the Defendants respectfully request that the

Court grant their motion to dismiss the FACC, with prejudice.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2022, I electronically filed the foregoing paper

with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to all counsel of record.



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